                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
A case management conference was scheduled at 10:00 a.m. on February 2, 2011, to consider Plaintiff's appeal. On November 10, 2010, the court sent notice of the scheduled case management conference to Plaintiff at 4545 South Monaco Street #134, Denver, CO 80237, which is the address Plaintiff provided to the court. The notice was not returned as undeliverable. The notice advised that if Plaintiff did not appear, the court might dismiss the appeal.
On February 2, 2011, the court sent Plaintiff a letter which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiff did not provide a written explanation by February 16, 2011, for her failure to appear, the court would dismiss the appeal. As of this date, Plaintiff has not submitted a written response to the court explaining her failure to appear at the February 2, 2011, case management conference. Under such circumstances, the court finds the appeal must be dismissed for lack of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed.
Dated this day of February 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Magistrate Pro Tempore Allison R.Boomer on February 23, 2011. The Court filed and entered thisdocument on February 23, 2011.